HUTCHISON § STEFFEN

 

A PROFESS|ONAL LLC
PEccoLE PRoFEssloNAL PARK
10050 wEsT ALTA DRch, sulTE 200

LAS VEGAS, NV 89|45

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C"ase 3:18-CV-00141-I\/|I\/|D-WGC Document 1 Filed 03/30/\18 Page 1 of 18

PET

Scott A. Flinders (6975)
HUTCHISON & STEFFEN, LLC
Peccole Professional Park

10080 West Alta Drive, Suite 200
Las Vegas, Nevada 89145
Telephone: 702-385-2500
Facsimile: 702-385-2086
sflinders@hutchlegal.com

Attorneysfor Defendant
American Family Insurance Company

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

DAWN LYNN, individual CASE NO.: 3:18-cv-0014l

Plaintiff,
vs. PETITION FOR REMOVAL
AMERICAN FAMILY MUTUAL
INSURANCE COMPANY; and DOES l

through 10, and ROE Corporations I through
X, inclusive,

 

Defendants.

 

TO: THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEVADA

Defendant AMERICAN FAMlLY MUTUAL `INSURANCE COMPANY petitions for
removal on the following grounds:

1. AMERICAN FAl\/IILY MUTUAL INSURANCE COMPANY is a defendant in a
civil action commenced on March l, 2018, and noW pending in the Second J udicial District Court
of the County of Washoe, Nevada, entitled DaWn Lynn v. Arnerican Family Insurance Company,
Case No. CV18-00159.

2. True copies of the Summons and Complaint are attached hereto and made a part

hereof as exhibit A.

 

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3. The date upon which AMERICAN FAMILY MUTUAL INSURANCE
COMPANY Was served with a copy of the Summons and Complaint was on March 1, 2018, when
the Nevada Department of Business and lndustry, Division of Insurance received a copy of the
Summons and Complaint on behalf of AMERICAN FAMILY lNSURANCE COMPANY. This
Petition is timely filed within the thirty (3 0) day period for removal of this action to this Court as
required by 28 U.S.C. § 1446(b).

4. Plaintiff Dawn Lynn is a resident of Washoe County, Nevada.

5. Defendant AMERICAN FAMILY MUTUAL INSURANCE COMPANY is a
company organized and existing under the laws of the State of Wisconsin.

6. Complete diversity of citizenship exists between the parties to this action and the
amount in controversy is greater than $75,000. As set forth in Plaintiff’ s Complaint, this is an
action for Breach of Contract, Breach of the Covenant of Good Faith and Fair Dealing and Breach
of the Unfair Practices Act. Consequently, Plaintiff is seeking punitive damages The amount in
controversy is in excess of $75,000.00, as demonstrated by the Complaint This Court has
jurisdiction over this action under 28 U.S.C. § 1332, 28 U.S.C. § 1441(a), and 28 U.S.C., § 1446(a)
and (b).

7. Venue lies in the Northern Division of this Court under 28 U.S.C. §§ 1441(a),
1446(a) and Local Rule IA 8-1(a). This action was originally brought in the Second Judicial
District Court for the State of Nevada, Washoe County, and the events alleged in the Complaint
occurred in Washoe County, Nevada,

8, AMERICAN FAMILY MUTUAL INSURANCE COMPANY certifies that the
`Notice of Removal and a copy of this Petition have been filed with the Clerk of the District Court

of the County of Washoe, Nevada, where the action was commenced

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LAS VEGAS, NV 89|45

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WHEREFORE, AMERICAN FAMILY lNSURANCE COMPANY requests that this action

be removed from the District Court of Washoe County, Nevada, to this Court.

/"z

DATED this ?_£/ day of March, 2018.

HUTCHISO>I & STEFFEN, LLC
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Attorneysfor Defendant

 

 

 

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CERTIFICATE OF SERVICE
Pursuant to NRCP (b), 1 certify that 1 am an employee of HUTCHISON & STEFFEN,
LLC. and that on this ay of March, 2018, I caused the above and foregoing document
entitled PETITI()N F()R REMOVAL to be served as follows:
§ by placing same to be deposited for mailing in the United States Mail, in a
sealed envelope upon which first class postage was prepaid in Las Vegas,
Nevada; and/or
§ pursuant to EDCR 7.26, to be sent via facsimile; and/or
§ to be hand-delivered;
to the attorney(s) listed below at the address and/or facsimile number indicated below:
Tamara Vannah, Esq.
GOLIGHTLY & VANNAH, PLLC
5555 Kietzke Lane, Ste. 150
Reno, Nevada 89511

Attorneysfor Plaz'ntz'jj‘

    
   

 

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Case 3:18-CV-00141-l\/|l\/|D-WGC Document 1 Filed 03/30/18 Page 5 of 18

   

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Primary Contact: Legal Department
American Family l\/|utua| insurance
6000 American Pkwy
l\/|adison, Wl 53783

 

Entity: Amerlcan Family l\/|utual insurance Company
Entity lD Number 3195323

Entity Served: American Famlly l\/|utual insurance Company, S.l.

Tltle of Action: Dawn Lynn vs. American Fami|y l\/|utua| insurance Company

Document(s) Type: SummOnS/Comp|aint

Nature of Action: COntract

Court/Agency: Washoe County District Court, Nevada

CaselReference No: CV18-00159

Jurisdiction Served: Nevada

Date Served on CSC: 03/05/2018

Answer or Appearance Due: 20 Days

Originally Served On: NV Division of lnsurance on 03/01/2018

How Served: Certified |\/|ai|

Sender |nformation: Tamara Vannah

775-222-3333

 

lnformation contained on this transmittalform is for record keeping, notification and fon/varding the attached document(s). lt does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

To avoid potential delay, please do not send your response to CSC
251 Little Falls Drive, Wllmington, Delavvare 19808»1674 (888) 690-2882 | sop@cscglobal.com

 

Case 3:18-CV-00141-l\/|l\/|D-WGC Document 1 Filed 03/30/18 Page 6 of 18

iimAN sANDovAL STATE OF NEVADA c.J. MANTHE

Govem or Dr'rector

BA`RBARA D. RlCHARDSON

Comm[ssioner

 

DEPAR'I`MENT OF BUSINESS AND INDUSTRY
DlVlSlON OF INSURANCE
3300 West Sahara Avenue, Suite 275
Las Vegas, Nevada 89102~3200
(702) 4864009 ' Fax (702) 4864007
\X/'ebsite: doi.nv.gov
E»mail~. insiufo@doi.nv.gov

March 2, 2018

American Fami`ly Mutual Insurance Company, S.I.

c/o CSC Services of Nevada, Inc.

2215 Renaissance Dr., Ste. B

Las Vegas, NV 89119-6727

RE: Dawn Lynn vs. American Family Mutual Insurance Company, et al.
District Court, Washoe County, Nevada
Case No. CV18-00159

Dear Sir or Madam:

Enclosed please find the following documents: Summons and Complaint These
documents have been served upon the Commissioner of Insurance as your attorney for service of
process on March l, 2018.

The appropriate action should be taken immediately, as you may only have 30 days from
the date of this service to respond.

lf you have any questions regarding this service, please advise.
Sincerely,

BARBARA D. RICHARDSON
Commissioner of Insurance

RHoNDA KELLY “
Service of Process Clerk

Enclosures

c: Tamara Vannah, Esq.

 

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PROOF OF SERVICE
I hereby declare that on this day l served a copy of the Surnrnons and Complaint upon
the following defendant in the within matter, by shipping a copy thereof, via Certified mail,
return receipt requested, to the following:

American Farnil y Mutual Insurance Company, S,l.
c/o CSC Services of Nevada, Inc.

2215 Renaissance Dr., Ste. B

Las Vegas, NV 89119-6727

CERTIFIED MAlL NO. 7016 3010 0000 0486 3067

Ideclare, under penalty of perjury, that the foregoing is true and correct

DATED this 2nd day or March, 2018. /

…

RHONDA KELLY

Etnployee of the State o Nevada
Departrnent of Business and industry
Division oflnsurance

RE; Dawn Lynn vsv American Family l\/lutual lnsurance Company, et al.
District Court, Washoe County, Nevada
Case No. CV18-00159

; State of Nevada, Dtvision of insurance
‘= ` This document on which this certificate
' " is stamped is a full, true and correct
copy of the orlglna|.

cater 3&’/)7' By: MZLQ

 

 

 

 

 

Case 3:18-CV-00141-l\/|l\/|D-WGC Documentl Filed 03/30/18

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BARBARA D. RlCHARDSON

Cummissl'oner

DEPARTMENT OF BUSlNESS AND INDUSTRY
DlVlSlON OF lNSURANCE
3300 Wcsr Saliara Avcnue, Suite 275
Las \/egas, Nevada 89102-3200

1702) 486-4009 '

Fax (702) 486-4007

Website: cioi.n\"rgov
E¢matl: insint`o@doi,n\',gov

March 2, 2018

Tamara Vannah, Esq.

GOLIGHTLY & VANNAH, PLLC
, 5555 Kietzke Ln., Ste. 150

Reno, NV 89511

RE: Dawn Lynn vs. American Family Mutual Insurance Company, et al.

District Court, Washoe County, Nevada
Case No. CV18-00159

Dear Ms. Vannah:

The Division received the service of process documents on March 1, 2018, regarding the
above-entitled matter. Service has been completed on American Family l\/lutual insurance
Company, S.I. this date and enclosed are the following:

1.. A copy of our letter to American Family Mutual Insurance Company, S.I. dated

March 2, 2018;

2. ‘ A certified copy of the Proof of S

ervice dated March 2, 2018; and

3. Your receipt in the amount of $30.00.

Pursuant to Nevada Revised Statutes (NRS) 680A.260, 685A.200, and 685B.050, all
documents after initial service of process may be served directly to the party.

lf` you have any questions regarding this service, please so advise.

By:

Enclosures

Sincerely,

BARBARA D. RICHARDSON
Commissioner of Insurance

DZQML,

RHoNDA KELLY 0
Service of Process Clerk

c; American Family Mutual Insurance Company, S.I.

 

Case 3:18-CV-00141-l\/|l\/|D-WGC Document 1 Filed 03/30/18 Page 9 of 18

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GOLIGHTLY & VANNAH, PLLC
5555 Kictzkc Lanc, Suite 150, cho Nevada 8951|
Tclephone (775) 222-3333 ~ Fa<similc (175) 420-4182

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IN THE SECOND JUDICIAL DISTRICT COURT OF THE STATE OF NEVADA
IN AND FOR THE COUNTY OF WASHOE

 

     

 

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DAWN LYNN, an individuai,
CASE NO.: CV18-00159
Plaintiff, DEPT NO.: D'?
vs.
AMERICAN FAMILY MUTUAL INSURANCE SUMMONS
COMPANY; DOES I through X, inclusive, and
ROE CORPORATIONS l through X, inclusive,
Defendants.

 

 

NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU WITHOUT
YOUR BEING HEARD UNLESS YOU RESPOND IN WRITING WITHIN 20 DAYS.
READ THE INFORMATION BELOW VBRY CAREFULLY.
TO THE DEFENDANT(S): A civil Complaint has been filed by the plaintiff against you for the
relief set forth in the Complaint

AMERICAN FAMILY MUTUAL INSURANCE COMPANY

i. “ If you intend to defend this lawsuit, within 20 days after this Summons is served on you
exclusive of the day of service, you must do the following:
a. Pile with the Clerk of this Court, whose address is shown below, a formal written
response to the Complaint in accordance with the rules of the Court.
b. Serve a copy of your response upon the attorney whose name and address is shown
below. .
2. Unless you respond, your default will be entered upon application of the plaintiff and this

Court may enter a judgment against you for the relief demanded in the Complaint, which
could result in the taking of money or property or other relief requested in the Complaint.

3, If you intend to seek the advice of an attorney in this matter, you should do so promptly so
that your response may be filed on time.
4. The State of Nevada, its political subdivisions, agencies, officers, employees, board

members, commission members and legislators each have 45 days after service of this

summons within which to file an Answer or other responsive pleading to the Complaint.
Issued at direction Of:
GOLIGHTLY & VANNAH JACQUELINE BRYAN'I`, CLER.K OF COURT

dwth

      
 

   

 

_ JAN 2 6 2018
‘i~ til ‘Jera
A NAH, ESQ. DEPUTY CLERK Date
Nevada BarNo.: 010661 Second Judicial District Court
5555 Kietzke Lane, Suite 150 ' 75 Court Street
Reno, Nevada 89511 Reno, Nevada 89501
A tromeysfor Plaintljf

 

 

 

GoLIGHrLY & VANNAH, PLLC
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Telephone (775) 222~3333

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TAMARA VANNAH, ESQ Divlslo~ oF iNSuaANCE Transaction # 6489857 ; csulezi
Nevada Bar No. 10661 STATE OF NEVADA

 

ROBERT D. VANNAH, ESQ.
Nevada Bar No. 25 03
GOLIGHTLY & VANNAH, PLLC
5555 Kietzke Lane, Suite 150

Reno, Nevada 89511

Telephone (775) 222-3333

Attorneys for Plaintiff

 

DISTRICT COURT
WASHOE COUNTY, NEVADA
DAWN LYNN, individual, CASE NO.:
DEPT NO.:

Plaintiff,
v.
AMERICAN FAMILY MUTUAL' INSURANCE COMPLAINT
COMPANY; and DOES I through X, and ROE
Corporations l through X, inclusive,

Defendants.

 

 

COMES NOW Plaintiff, DAWN LYNN, by and through her attorneys, ROBERT D.
VANNAH, ESQ., and TAMARA VANNAH, ESQ., of the law firm GOLIGHTLY & VANNAH,
and hereby complains and alleges as follows:.

I.
IDENTIFlCATION OF THE PARTIES

1 . ‘ Where applicable, all matters set forth herein are incorporated by reference in the
various causes of action, which follow.

2. At all times mentioned herein, Plaintiff DAWN LYNN was, and is, a resident of the
County of Washoe, State of Nevada.

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Page 1 of 8

 

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3. Plaintiff is informed and believes, and thereon alleges, that Defendant AMERICAN
FAMILY MUTUAL INSURANCE COMPANY (hereinafter “AMERICAN FAMILY”) at all times
herein mentioned, is an insurance company authorized to do business, and doing business in,
Washoe County, Nevada,

4. Plaintiff alleges that the DOE Defendant was and is liable to Plaintiff for benefits
under her auto liability policy of insurance and/ or responsible for evaluation of Plaintiff’s
underinsured motorist claims

5. The true names of DOES 1 through 10 and ROE CORPORATIONS l through 10, their
citizenship and capacities Whether individual, corporate, associate, partnership or otherwise, are
unknown to Plaintiff Who therefore sue these Defendants by Such fictitious names Plaintiff is
informed and believes, and therefore alleges, that each of the Defendants, designated as DOES 1
through 10 and ROE CORPORATIONS 1 through 10, are or may be, legally responsible for the
events referred to in this action, and caused damages to the Plaintiff, as herein alleged, and
Plaintiff will ask leave of this Court to amend the Complaint to insert the true names and capacities
of such Defendants, when the same have been ascertained, and to join them in this action, together
with the proper charges and allegations

6. ROE CORPORATIONS l through 10 are insurance companies, casualty
companies, corporations, or other business entities who wrote or participated in writing
AMERICAN FAMILY policy number 16077217-01, or Who participated in the claim processing
and/or handling of Plaintiff’s claims, as herein alleged

7. DOES 1 through 10 are employers of Defendants and/or employers of named and/or
unnamed Defendants who may be liable in negligence generally, or pursuant to N.R.S. 41.1301
which states:

[e]xcept as otherwise provided in N.R.S. 41.745, Whenever any person

shall suffer personal injury by wrongful act, neglect or default of another,
the person causing the injury is liable to the person injured for damages;

Page 2 of 8

 

 

 

" Facsimile (775) 420-4182

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'I`elcphone (775) 222-3333

Case 3:18-CV-00141-l\/|l\/|D-WGC Dooument 1 Filed 03/30/18 Page 12 of 18

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and where the person causing the injury is employed by another person or
corporation responsible for his conduct, that person or corporation so
responsible is liable to the person injured for damages
8. Plaintiff alleges that the ROE CORPORATION Defendant is liable to Plaintiff for
benefits under her policy of insurance and/or responsible for evaluation of Plaintiff’ s claims
II.
GENERAL ALLEGATIONS
9. Plaintift’ s claims arise out of an automobile accident that occurred on January 13, 2016,
in Washoe County, Nevada, Wherein Plaintiff was stopped at Baring Boulevard, waiting to safely
merge onto N. McCarran; while Plaintiff was waiting for the traffic to clear, Christina Wholey
slammed into the back of Plaintift’s vehicle
10. Prior to January 13, 2016, Plaintiff purchased a policy of underinsured/uninsured
motorist insurance from AMERICAN FAMILY to cover her bodily injuries, in the amount of
8100,000, along with medical payments coverage in the amount of 810,000.
11. Plaintiff was severely injured as a result of the accident of January 13, 2016; specifically,
Plaintiff sustained injury to her cervical spine, at the C5-C6 and C6-C7 levels
12, On February 22, 2017, Plaintiff sent a settlement demand to AMERICAN FAMlLY,
outlining her past medical treatment and explaining that she was planning on having a 2»level fusion
in approximately June of 2017.
13. On February 28, 2017, AMERlCAN FAMILY responded to Plaintiff requesting
additional medical records
14, On March 14, 2017, AMERICAN FAMILY requested that Plaintiff sign a HIPAA-
compliant authorization and fill out a claimant fact sheet.
15. On April 4, 2017, Plaintiff complied with AMRlCAN FAMILY’S request and sent it a

signed, HlPAA-compliant authorization, along with the completed claimant fact sheet

Page 3 of 8

 

 

~ l-`acsimile (775) 420-4182

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16.0n April 5, 2017, AMERICAN FAMlLY continued receipt of Plaintift"s HIPAA-
compliant authorization and claimant fact sheet, and AMERlCAN FAMILY indicated that it was in
the process of requesting medical records and billing

17. On April 6, 2017, Plaintiff supplemented her settlement demand to AMERICAN
FAMILY by sending it additional records and medical billing

18. On April 14, 2017, AMERICAN FAMILY stated that it was still waiting on medical
records that it had requested from Plaintiffs’ various treating physicians AMERICAN FAMILY
also requested that Plaintiff undergo an Independent Medical Exam (IME), prior to Plaintiff
undergoing surgery in June of 2017.

19. On April 26, 2017, Christina Wholey’s liability bodily injury insurer, The Hartford,
agreed to tender the liability bodily injury policy limits of $250,000 to Plaintiff.

20. On April 26, 2017, Plaintiff notified AMERICAN FAMILY that Christina Wholey’s
bodily injury insurer agreed to tender policy limits Plaintiff sent written confirmation of the
agreement and Christina Wholey’s declaration page to AMERICAN FAMILY.

21.0n May 2, 2017, AMERlCAN FAMILY notified Plaintiff that it was working on
scheduling an IME for Plaintiff and that a coordinator would contact Plaintiffs counsel to discuss
dates for the IME exam to be completed

22. On May 30, 2017, AMERICAN FAMILY scheduled an IME for Plaintiff with Dr. Dow.

23. On June 12, 2017, Plaintiff attended the IME with Dr. Dow.

24. On .luly 24, 20 l 7, Plaintiff underwent a 2 level anterior cervical diskectomy and fusion at
C5~C6 and C6-C7, performed by Dr. James Olson. On August 8, 2017, Plaintiff reported 90%
overall improvement of her symptoms to Dr. J ames Olson.

25. On August 7, 2017, AMERICAN FAMILY responded to Plaintiff’s demand for tender of
her underinsured/uninsured motorist policy limits as follows: “After careful consideration to Ms.

Lynn’s pre-existing multilevel cervical degenerative disc disease, of her complaints following the

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5555 Kietzke Lane, Suite 150, Reno, Nevada 8951 1
~ Facsimile (775) 420-4182

Telephone (775) 222-3333

GoLIGHTLY & VANNAH, PLLC

Case 3:18-CV-00141-l\/|l\/|D-WGC Dooument 1 Filed 03/30/18 Page 14 of 18

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, Coordinator for the past 20 years Once again, Plaintiff asked AMERICAN FAl\/HLY to tender to

 

motor vehicle accident in question, the findings of the IME, apportionment given of 60% pre-
existing and .40% to the accident in question, consideration of the underlying settlement of
8250,000.00 and the medical expense coverage of 810,000.00, we feel your client has been fullyt
compensated Regretfully, we are unable to extend any offer of settlement under the UIM coveragc.”

26, On September 18, 2017, Plaintiff sent updated billing to AMERICAN FAMILY, which
included the billing for her surgery, along with a letter from her employer confirming that Plaintiff
had indeed complained of neck pain and numbness in her hands to her employer, Henry Schein, a

distributor of medical and dental products, where Plaintiff had been employed as a Quality System

her the underinsured/uninsured motorist policy limits of $100,000.

27. On September 21, 2017, AMERICAN FAMILY responded to Plaintift’s September 18,
2017 letter, by requesting the medical records for Plaintift’s July 24, 2017 surgery.

28. On October 3, 2017, Plaintiff made her final demand to AMERICAN FAMILY, in which
she included the medical records/reports for her July 24, 2017 surgery.

29. On October 24, 2017, AMERICAN FAMILY responded to Plaintiff’s final demand as
follows: “American Family Insurance has completed an additional review of the medical
documentation in which your office recently submitted We feel your client has been fully
compensated with the underlying settlement she has received We regret, we are unable to extend an
offer of settlement under her UIM coverage,”

III.
FIRST CLAIM FOR RELIEF
BREACH OF CONTRACT

30. Plaintiff repeats and re-alleges each and every statement set forth in the above

Paragraphs as though each were set forth herein verbatim.

31. Defendant’s failure to tender the policy limits as demanded and/or fairly evaluate

Page 5 of 8

 

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5555 Kretzke Lane Suite 150 cho Nevada 89511

Telephonc (775) 222 -3333

Case 3:18-cV-00141-I\/|I\/|D-WGC Document 1 Filed 03/30/18 Page 15 of 18

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Plaintiff”s claim, arising from the automobile accident of January 13, 2016, was a material breach
of the insurance contract.

32. As a result of Defendant’s breach of contract, Plaintiff has incurred compensatory or
expectation damages

33. As a result of Defendant’s breach of contract, Plaintiff has incurred foreseeable
consequential and incidental damages

IV.
SECOND CLAIM FOR RELIEF

BREACH oF THE covENANT oF GooD FAITH AND FAIR DEALING
(BAD FAITH)

34. Plaintiff repeats and re~alleges each and every statement set forth in the above
Paragraphs as though each were set forth herein verbatim.

35. Nevada law recognizes in every contract a covenant of good faith and fair dealing,
which is a promise that neither party will do anything which will injure the right of the other to
receive the benefits of the agreement

36. Defendant breached this covenant of good faith and fair dealing by its refusal to pay
Plaintiff the policy limits as demanded and/or evaluate Plaintiff” s clairn, arising from the
automobile accident of January 13, 2016, as required under the policy of insurance.

37. Defendant’s refusal to evaluate and/or pay Plaintiff”s claim was done so in the absence
of a reasonable basis for denying such benefits under the policy, and was done with Defendant’s
knowledge and/or reckless disregard of the lack of a reasonable basis for denying the claim.

38. Defendant further breached the covenant of good faith and fair dealing by its violation
of provisions of the Unfair Claims Practices Act (NRS 686A.310 et seq.), set out below; violation
of which was done with Defendant’s actual and/or implied knowledge

39. As a result of Defendant’s breach of the covenant of good faith and fair dealing,

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Plaintiff has incurred compensatory and expectation damages
40. Defendant’s willful, wanton, malicious, reckless, oppressive, and/or fraudulent breach
of the covenant 0`f good faith and fair dealing entitle Plaintiff to punitive damages
V.
THIRD CLAIM FOR RELIEF
UNFAIR CLAIMS PRACTICES

41. Plaintiff repeats and re»alleges each and every statement set forth in the above
Paragraphs as though each were set forth herein verbatim

42. Defendant failed to effectuate a prompt, fair and equitable settlement of claims in
which its liability had become reasonably clear, as prohibited by NRS 686A.310(l)(e).

43. Defendant compelled Plaintiff to institute litigation to recover amounts due under the
applicable insurance policy by offering substantially less than the amounts ultimately recovered in
actions brought by the Plaintiff, when the Plaintiff made claims for amounts reasonably similar to
the amounts ultimately recovered, as prohibited by NRS 686A.310(1)(f).

44. Defendant failed to provide a prompt reasonable explanation to Plaintiff of Defendant’s
basis in the insurance policy, with respect to the facts of the Plaintift"s claims and the applicable
law, for the denial of Plaintift" s claim or for an offer to settle or compromise Plaintiff’s claim, as
prohibited by NRS 686.A310(1)(n).

45 . Pursuant to NRS 686A.310(2), Defendant is liable for any damages sustained by
Plaintiff as a result of its violation of the above unfair claims practices including damages for
benefits denied under the insurance policy, consequential damages, emotional distress, and
attomey’s fees Furtherrnore, Plaintiff is entitled to punitive damages as the above violations were
done with a conscious disregard for the rights of Plaintiff.

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PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for relief and judgment against Defendant as follows:

l.

2.

General and special damages in excess of $l0,000, according to proof at trial;
Compensatory or expectation damages for denied policy benefits;

Consequential damages including emotional distress and attorney’s fees, in excess
of $10,000;

Punitive damages against Defendant, only, in excess of $10,000;

Costs of suit; and,

Such other and further relief as this Court deems appropriate

Dated this 19th day of January, 2018.

VANNAH & VANNAH

Ls/ Tamara Vannah, Esg.
TAMARA VANNAH, ESQ.

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